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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY EMPLOYEES UNION
800 K Street N.W., Suite 1000
Washington, D.C. 20001,

                           Plaintiff,

             v.

DONALD J. TRUMP,                                       Case No. 1:25-cv-00935 (PLF)
President of the United States
1600 Pennsylvania Avenue N.W.
Washington, D.C. 20500, et al.,

                           Defendants.
__________________________________________________

                             JOINT STATUS REPORT

      Pursuant to the Court’s April 4, 2025 Order, Plaintiff National Treasury

Employees Union (NTEU) and Defendants Donald Trump, et al., respectfully

submit this joint status report.

      The Court’s Order directed the parties to meet and confer and to file a joint

status report “proposing deadlines for defendants’ response to plaintiff’s motion for

a preliminary injunction and plaintiff’s reply in view of the oral argument scheduled

for April 23, 2025.” Counsel for the parties met and conferred on April 4 and April 7.

They were unable to reach agreement on a proposed briefing schedule and set forth

their positions below for the Court’s resolution.

      NTEU’s Proposal. NTEU proposes that Defendants file their response to

NTEU’s motion on Friday, April 11, consistent with Local Civil Rule 65.1(c), and

that NTEU files its reply on Wednesday, April 16.
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       In support of its position, NTEU respectfully states that while it would

otherwise give the government more time than the local rules allow for a response

to a motion for preliminary injunction, it cannot agree to do so here. The NTEU

attorney who is primarily handling this matter will be out of the country from

Monday, April 14 through Friday, April 18. A deadline of Friday, April 11 for the

government’s response will allow NTEU’s primary attorney to work on a reply brief

over the weekend of April 12-13 before leaving the country on the morning of April

14. Further, a deadline of April 16 for NTEU’s reply will allow the Court to have the

full set of motions papers one week before oral argument on NTEU’s motion.

       Defendants’ Proposal. Defendants propose that Defendants file their

response to NTEU’s motion on Tuesday, April 15, and that NTEU files its reply on

Friday, April 18 (or Monday, April 21, to accommodate the scheduled travel of

one of plaintiff’s attorneys).

       In support of their position, Defendants respectfully state that given that

there are fourteen Defendants—the President and thirteen agencies—and the

complexity of the issues involved, Defendants require until Tuesday, April 15 to

adequately prepare a response and allow for the necessary review within the

Department of Justice and defendant agencies. Defendants further note that while

NTEU’s counsel has indicated that NTEU’s primary attorney is out of the country

between April 14–18, 1 that attorney has not indicated that he is unavailable to




1 Defendants have proposed an alternative reply brief deadline of April 21 to
accommodate plaintiffs’ counsel’s travel schedule.
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work during that time or that the other three attorneys working on this matter

cannot work during that period. 2 Defendants additionally observe that plaintiff

chose to seek emergency relief despite the planned travel of one of its attorneys

during the week before its requested hearing on the motion for emergency relief.

For all these reasons, Defendants respectfully request that the Court enter its

proposed schedule.

                                Respectfully submitted,

Dated: April 7, 2025

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2 NTEU requests until April 16 for its reply brief, implying that the other Plaintiff

attorneys on the matter would be working between April 14 and April 16.
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